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COLEMAN v. SCHWARZENEGGER, et al.,.
CIV S-90-0520 LKK JFM P

EXHIBIT 3, 10/21/05 MEMO
IN SUPPORT OF DEFENDANTS’ FURTHER RESPONSE TO PLAINTIFFS’ NOTICE
OF NONCOMPLIANCE RE: CPR POLICY AND IMPLEMENTATION
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State of Califomla , Department of Corrections and Rehabilitation

Memorandum
Date : October 21, 2005

T : Associate Directors
Wardens

Subject AMENDED CARDIO PULMONARY RESUSCITATION POLICY

Pursuant to a recent Coleman court order, the California Department of Corrections and
Rehabilitation (CDCR) has amended the September 12, 2005 Cardio Pulmonary
Resuscitation (CPR) Policy. Please ensure that the attached policy now titled AMENDED
POLICY REGARDING PEACE OFFICERS’ RESPONSIBILITY FOR PROVIDING
IMMEDIATE LIFE SUPPORT is included in CPR off post training. The CDCR
Correctional Peace Officer Academy will also ensure the immediate addition of this policy to
the training of new cadets.

Institutions must also ensure that your institution/facility provide immediate documented
On-The-Job Training to all Correctional Peace Officer classifications. The training will
include the review and discussion of the attached policy. The training on the new policy must
be conducted by December 9, 2005. Please confirm your compliance via email to Sandra
Acox, Division of Adult Institutions, by December 9, 2005. .

There will be a conference cail to discuss this issue on Monday, October 24, 2005 at 3:30
-p.m. If you have any questions regarding the Information provided. or require clarification,
please contact Nancy Hardy at (916) 323-2811.

Se
JOHN’ DOVEY

Director
Division of Adult Institutions

Attachment

cc: Renee Kanan, M.D. Mike Knowles _ Kathleen Keeshen
Brigid Hansen Tim Virga _- Michael-Stone
Doug Mckeever, _ Gary Swarthout * Nancy Baldwin
Pau) Bestolarides ' Sandra Duveneck . Dave Lewis -

Lisa Tillman , Nancy Hardy -

* SDC 4017 (3/e9)
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State of California Dapartment of Corrections and Rehabilitation

Memorandum

Date: October 21, 2005

To: Associate Directors, Division of Adult Institutions
Regional Administrators, Division of Correctional Health Care Services
Regional Medical Directors, Division of Correctional Health Care Services
Wardens
Health Care Managers

Subject: AMENDED POLICY REGARDING PEACE OFFICERS?’ RESPONSIBILITY FOR
PROVIDING IMMEDIATE LIFE SUPPORT

In medical emergencies, the primary objective is to preserve life. All peace officers who
respond to a medical emergency are mandated, pursuant to court order, to provide immediate life
support, if trained to do so, until medical staff arrives to continue life support measures, - All peace
officers must carry a personal Cardiopulmonary Resuscitation (CPR) mouth shield at all times,

Custody P rotocal

The officer must assess and ensure it is reasonably safe to perform life support by effecting the

following minimum actions: ,

* Sound an alarm (a personal alarm or, if one is not issued, an alarm based on local procedures
must be used) to summon necessary medical personne! and/or additional custody personnel,

¢ Determine and respond appropriately to any exposed bloodborne pathogens.

* Determine and neutralize any significant security threats to self or others including any
circumstances causing barm to the involyed inmate.

° Initiate life saving measures consistent with training.

The responding peace officer will be required to articulate the decision made regarding immediate
life support and actions taken or not taken, including in cases where life support is not initiated
consistent with training and/or situations which pose a significant threat to the officer or others.

Clinical and Custody Combined Efforts -

A Correctional Peace Officer’s initiation of life support docs not relieve responding medical
personnel of their responsibility to assume life saving efforts upon arrival. Responding medical
personnel shall assume primary responsibility in the provision of medical attention and life saving
efforts upon their arrival, The combined efforts of both custody and medical personnel are
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Associate Directors, Division of Adult Institutions .

Regional Administrators, Division of Correctional Health Care Services
Regional Medical Directors, Division of Correctional Health Care Services
Wardens
Health Care Managets

Page 2

expected. Both custody and medical personnel are responsible to continue life saving efforts in
unison as long as necessary.

This policy memorandum supersedes all other previous directions specifically related to peace
officers responsibilities in the performance of CPR. Please ensure all employees are notified.

JOHN DOVEY a RENEB KANAN, M_D., MP
Director

- Director (A)
Division of Adult Institutions Division of Correctional Health Care Services
cc: Mike Knowles Sandra Duveneck -Yulanda Mynhier
Tim Rovgeux =~ ’ David Lewis Kathleen Keeshen
Tim Virga Paul Bestolarides Joe Armor -
Brigid Hanson ~ Dennis Beaty. Gail Tanaka
Mike Beaber mo, David Hellerstein, M.D. ‘Caroline Short

Margaret Howerton Carole Springer Ralyn Conner
Cassandra Mraz...
